               Case 2:23-cv-09430-SVW-PD                Document 23              Filed 02/07/24            Page 1 of 3 Page ID
Name and address:
                                                              #:83
              Nabil L. Abu-Assal (SBN 136764)
       Cypress LLP, 1925 Century Park East, Suite 1700
                   Los Angeles, CA 90067
                      T: (424) 901-0123
                Email: nabil@cypressllp.com

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
Robert Hunter Biden
                                                         Plaintiff(s),                             2:23-cv-09430-SVW-PD

                  v.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
Patrick M. Byrne                                                                    TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Smith, Michael J .
Applicant's Name (Last Name, First Name & Middle Initial)                                            check here if federal government attorney
The Law Firm of Michael J. Smith and Associates, PLLC
Firm/Agency Name
70 Macomb Place                                                          (586) 254-0200                          (586) 254-0201
Suite 200                                                                Telephone Number                        Fax Number
Street Address
Mt. Clemens, MI 48043                                                                          msmith@mikesmithlaw.com
City, State, Zip Code                                                                                 E-mail Address

I have been retained to represent the following parties:
Patrick M. Byrne                                                            Plaintiff(s)   ✖   Defendant(s)     Other:
                                                                            Plaintiff(s)       Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                        Date of Admission             Active Member in Good Standing? (if not, please explain)
State of Michigan                                          11/08/1984               Yes
U.S. District Court East Dist. of Michigan                 12/05/1984               Yes
United States Tax Court                                     4/13/2016               Yes

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               Case 2:23-cv-09430-SVW-PD             Document 23           Filed 02/07/24         Page 3 of 3 Page ID
                                                           #:85
SECTION III - DESIGNATION OF LOCAL COUNSEL
Abu-Assal, Nabil L.
Designee's Name (Last Name, First Name & Middle Initial)
Cypress LLP
Firm/Agency Name
1925 Century Park East                                            (424) 901-0123                           (424)-750-5100
Suite 1700                                                        Telephone Number                         Fax Number
Street Address                                                    nabil@cypressllp.com
Los Angeles, CA 90067                                             Email Address
City, State, Zip Code                                             136764
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated February 7, 2024                             Nabil L. Abu-Assal
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)


     N/A




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